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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Eastern District
                                                   __________  DistrictofofVirginia
                                                                            __________

         TRUSTEES OF THE PLUMBERS AND                               )
        STEAMFITTERS UNION LOCAL NO. 10                             )
             APPRENTICESHIP FUND                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No. 3:24-cv-00180
                                                                    )
                      VICTORIA NAPKY                                )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Victoria Napky
                                           23 N. Cedar Avenue
                                           Richmond, VA 23076




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Jacob N. Szewczyk
                                           O'Donoghue & O'Donoghue LLP
                                           5301 Wisconsin Avenue NW, Suite 800
                                           Washington, D.C. 20015



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT

             3/12/2024
Date:
                                                                                         Signature of Clerk or Deputy Clerk
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